                      Case 11-02015-RAM        Doc 15     Filed 11/09/11    Page 1 of 2




        ORDERED in the Southern District of Florida on November 8, 2011.




                                                              Robert A. Mark, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________




                               UNITED STATES BANKRUPTCY COURT
                         IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

          In re:                                       Case No. 10-26989-RAM

                   HARVEY HERNANDEZ,                   Chapter 7

               Debtor.
          ______________________________/
          SONEET KAPILA, CHAPTER 7 TRUSTEE,

                   Plaintiff,
                                                       Adv. No. 11-02015-RAM
          -vs-

          HARVEY HERNANDEZ,

                Defendant.
          ___________________________________/

                          ORDER DISMISSING-AS-MOOT: ADVERSARY CASE

                   This matter came on before the Court, sua sponte, on November 3rd, 2011 at 3:00
          p.m., wherein a hearing was held in the Parent case in regards to Debtor’s Waiver of
           Case 11-02015-RAM         Doc 15     Filed 11/09/11     Page 2 of 2




Discharge, and the Court, finding this matter moot as a result of the Waiver of Discharge,
does hereby
       ORDER and ADJUDGE that:
       1. The instant Adversary Proceeding is DISMISSED.
                                             ###
Submitted by:
       James B. Miller, Esq.
Copies to (via ecf in pdf format):
       Daniel Gonzalez, Esq.
(Attorney Gonzalez shall serve a copy of this order via email to Mr. Miller).
